    21-12075-dsj     Doc 6        Filed 12/17/21     Entered 12/17/21 12:26:12       Main Document
                                                   Pg 1 of 4
                                                      Hearing Date: December 20, 2021 at 10:30 a.m. (EST)


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Proposed Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                   Chapter 11

JPA NO. 111 CO., LTD. and                                Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                         (Joint Administration Pending)
                                      1
                         Debtors.


                                NOTICE OF HEARING ON
                        “FIRST-DAY” APPLICATIONS AND MOTIONS

                 PLEASE TAKE NOTICE that on December 17, 2021 (the “Petition

Date”), the above-captioned debtors and debtors-in-possession (the “Debtors”) filed

voluntary petitions for relief under chapter 11 of title 11 of the United States Code in

the United States Bankruptcy Court for the Southern District of New York

(the “Bankruptcy Court”).

                 PLEASE TAKE FURTHER NOTICE that on the Petition Date, the

Debtors filed, or plans to file, among other items, the applications and motions that are

listed on Exhibit A hereto (collectively, the “First Day Pleadings”) and the Declaration

of Teiji Ishikawa Pursuant to Bankruptcy Rule 1007-2 and in Support of the Debtors Chapter

11 Petitions and First Day Pleadings (the “First Day Declaration”).

1
      The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
      Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
      Chiyoda-Ku, Tokyo 100-0013.
21-12075-dsj    Doc 6    Filed 12/17/21     Entered 12/17/21 12:26:12   Main Document
                                          Pg 2 of 4



             PLEASE TAKE FURTHER NOTICE that a hearing (the “First Day

Hearing”) to consider the relief requested in the First Day Pleadings will be held on

December 20, 2021, at 10:30 a.m. (prevailing Eastern Time), or as soon thereafter as

counsel can be heard, before the Honorable David S. Jones, United States Bankruptcy

Judge for the Southern District of New York, in the United States Bankruptcy Court for

the Southern District of New York (the “Bankruptcy Court”), One Bowling Green,

Courtroom 501, New York, New York 10004, unless otherwise ordered by the

Bankruptcy Court. In light of the COVID-19 pandemic, the First Day Hearing shall take

place via Zoom for Government. Those wishing to appear before the Bankruptcy Court

at the First Day Hearing must register their appearance by utilizing the Electronic

Appearance portal located at the Bankruptcy Court’s website:

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl. Appearances must be

entered no later than December 17, 2021 at 4:30 p.m. (Prevailing Eastern Time).

             PLEASE TAKE FURTHER NOTICE that Gen. Ord. M-543, along with

other temporary procedures implemented by the Bankruptcy Court in connection with

the COVID-19 pandemic (including electronic filing procedures for pro se parties) can be

found by visiting www.nysb.uscourts.gov (the “Bankruptcy Court’s Website) and

clicking on the “Coronavirus COVID-19 Protocol” banner.



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                                             2
21-12075-dsj     Doc 6    Filed 12/17/21     Entered 12/17/21 12:26:12     Main Document
                                           Pg 3 of 4




              PLEASE TAKE FURTHER NOTICE that copies of the First Day

Pleadings and First Day Declaration can be viewed and/or obtained by: (i) accessing

the Bankruptcy Court’s Website for a fee, or (ii) contacting the Office of the Clerk of the

United States Bankruptcy Court, Southern District of New York. Please note that a

PACER password is required to access documents on the Bankruptcy Court’s Website.



Dated: New York, New York
       December 17, 2021                    JPA NO. 111 CO., LTD. and
                                            JPA No. 49 CO., LTD.
                                            Debtors and Debtors in Possession
                                            By their Proposed Counsel
                                            TOGUT, SEGAL & SEGAL LLP
                                            By:


                                            /s/Kyle J. Ortiz
                                            Kyle J. Ortiz
                                            Bryan M. Kotliar
                                            Amy M. Oden
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                                            One Penn Plaza, Suite 3335
                                            New York, New York 10119
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                                              3
 21-12075-dsj   Doc 6    Filed 12/17/21     Entered 12/17/21 12:26:12      Main Document
                                          Pg 4 of 4



                                          Exhibit A


1.    “Joint Administration Motion”

      Debtors’ Motion for an Order Directing Joint Administration of Debtors’ Chapter 11
      Cases [Docket No. 2].

2.    “Creditor Matrix Motion”

      Debtor’s Motion for Entry of an Order (I) Waiving Certain Creditor List Filing
      Requirements; (II) Authorizing the Filing of a Consolidated List of Top 20 Unsecured
      Creditors; and (III) Authorizing the Debtors to Establish Procedures for Notifying
      parties of the Commencement of These Cases [Docket No. 4].

3.    “Stay Confirmation Motion”

      Debtors’ Motion for Entry of an Order (I) Enforcing the Protections of Sections 105(a),
      362, 365, 525 and 541 of the Bankruptcy Code, Restating Automatic Stay and Ipso Facto
      Provisions; and (II) Granting Related Relief [Docket No. 5].




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